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      and ROBERTS SPACE INDUSTRIES CORP.
 8
                            UNITED STATES DISTRICT COURT
 9
                           CENTRAL DISTRICT OF CALIFORNIA
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      CRYTEK GMBH,                             )   Case No. 2:17-CV-08937
11                                             )
            vs.                                )   [HON. DOLLY M. GEE]
12                                             )
      CLOUD IMPERIUM GAMES CORP. and           )   NOTICE OF MOTION AND
13    ROBERTS SPACE INDUSTRIES CORP.,          )   MOTION TO DISMISS THE FIRST
                                               )   AMENDED COMPLAINT OR
14                Defendants.                  )   CLAIMS FOR RELIEF THEREIN
                                               )   OR, IN THE ALTERNATIVE, FOR
15                                             )   A MORE DEFINITE STATEMENT
                                               )   AND TO STRIKE CERTAIN
16                                             )   PORTIONS OF THE FIRST
                                               )   AMENDED COMPLAINT
17                                             )   (FRCP 12(B)(6), 12(E) & 12(f))
                                               )
18                                             )   Date:      February 9, 2018
                                               )   Time:      9:30 AM
19                                             )   Courtroom: 8C
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 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          NOTICE IS HEREBY GIVEN that, pursuant to Rules 12(b)(6), 12(e) and 12(f)
 3    of the Federal Rules of Civil Procedure and the Court’s Initial Standing Order dated
 4    December 13, 2017, on February 9, 2018 at 9:30 a.m., or as soon thereafter as the matter
 5    may be heard, in Courtroom 8C by the Honorable Dolly M. Gee of the United States
 6    District Court for the Central District of California, located at 350 West 1st Street, Los
 7    Angeles, California 90012, Defendants Cloud Imperium Games Corp. (“CIG”) and
 8    Roberts Space Industries Corp. (“RSI”) (together, “Defendants”) will, and hereby do,
 9    move to dismiss the First Amended Complaint dated January 2, 2018 (the “FAC”) filed
10    by Plaintiff Crytek GmbH (“Crytek” or “Plaintiff”) and each of the first and second
11    claims for relief therein, with prejudice or, in the alternative to strike certain portions of
12    paragraph 15 of the FAC.
13          This motion is brought on the grounds that the FAC fails to state a claim for breach
14    of contract or copyright infringement, that the claims for copyright infringement are so
15    vague and ambiguous that Defendants cannot reasonably prepare a response, and that the
16    offending allegations in paragraph 15 of the FAC should be stricken as immaterial,
17    impertinent and scandalous.
18          This motion is based upon: this Notice of Motion and Motion; the Memorandum
19    of Points and Authorities filed herewith; the Declaration of Jeremy S. Goldman filed
20    herewith (the “Goldman Declaration”); the pleadings and papers on file herein; and upon
21    such other matters as may be presented to the Court at the time of the hearing.
22          As discussed in more detail in the accompanying Goldman Declaration, on
23    December 28, 2017, the undersigned participated in a teleconference with Crytek’s
24    counsel pursuant to Local Rule 7-3 of the Local Rules of the United States District Court
25    for the Central District of California. During the call, the undersigned communicated
26    numerous deficiencies with Crytek’s initial complaint dated December 12, 2017 (the
27    “Initial Complaint”) that Defendants intended to raise in a motion to dismiss and strike.
28    On January 2, 2018, Crytek filed its FAC. The FAC addressed only a few, but not most,
       ___________________________________________________________________________________
               DEFENDANTS’ NOTICE AND MOTION TO DISMISS AND STRIKE THE FAC
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 1    of the deficiencies with the Initial Complaint that the undersigned had raised during the
 2    December 28, 2017 call. This motion addresses the deficiencies that Crytek failed to
 3    remedy with its filing of the FAC.
 4    Dated: January 5, 2018
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 6                                           FRANKFURT KURNIT KLEIN & SELZ P.C.
 7                                           BY: /s/ Jeremy S. Goldman
                                                 Joseph R. Taylor (SBN 129933)
 8                                               Jeremy S. Goldman (SBN 306943)
                                                 Azita M. Iskandar (SBN 280749)
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13                                           Attorneys for Defendants CLOUD IMPERIUM
                                             GAMES CORP. and ROBERTS SPACE
14                                           INDUSTRIES CORP.
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               DEFENDANTS’ NOTICE AND MOTION TO DISMISS AND STRIKE THE FAC
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